              Case 18-24148-LMI        Doc 120     Filed 05/24/20   Page 1 of 1




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 IN THE MATTER OF:                               CASE NO.: 18-24148-LMI
 Fidel E. Flamini                                CHAPTER 13

                              Debtor

            MOTION TO MODIFY CONFIRMED CHAPTER 13 BANKRUPTCY PLAN

       COMES NOW, the Debtor, Fidel E Flamini, (“Debtor”) by and though his undersigned
counsel, and moves this Court for an Order Granting his Motion to Modify Confirmed Chapter
13 Plan and in support would state as follows:
       1.      On January 20, 2020, an Order Confirming Debtor’s Modified Chapter 13 Plan
was entered, [ECF No. 115].
       2.      Debtor is self-employed and has experienced a reduction in income due to the
Covid-19 pandemic. Debtor seeks to modify his plan to absorb the missed plan payments.
Pursuant to the CARES Act, Debtor seeks to modify his plan of reorganization from sixty
months to eighty-four months.
       WHEREFORE, Debtor, Fidel E Flamini, prays that this Honorable Court grant the
relief to modify his plan to the full term provided by the CARES Act and for any other relief
deemed just and proper.

       Dated this 24th day of May 2020

                                             Submitted by:
                                             /s/ Rachamin Cohen
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